               UNITED STATES DISTRICT COURT
              EASTERN DISTRICT OF WISCONSIN

 FRANCIS WOODROW, on behalf of
 himself and others similarly situated,

                      Plaintiff,                   Case No. 18-CV-1054-JPS

 v.

 SAGENT AUTO, LLC, doing business as                              ORDER
 SAGENT LENDING TECHNOLOGIES,

                      Defendant.


       On May 7, 2019, this Court issued a preliminary approval order

approving the settlement of this Telephone Consumer Protection Act

(“TCPA”) case. (Docket #37). That order adopted the parties’ proposed

order, which guided the settlement process. Id. at 2. On September 10, 2019,

Plaintiff submitted a motion for final approval of class action settlement.

(Docket #44). That same day, Defendant submitted a notice of non-

opposition to the motion. (Docket #45).

       On September 19, 2019, the parties attended a fairness hearing. The

Court, having reviewed the parties’ submissions and hearing no reason not

to approve the settlement, stated that it would administratively close the

case pending the entry of final judgment. (Docket #46). The Court then

ordered the parties to submit a proposed final order, id., which they did, to

the Court’s satisfaction.

       Accordingly,

       IT IS ORDERED that Plaintiff’s unopposed motion for final

approval of class action settlement, (Docket #44), be and the same is hereby

GRANTED;



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         IT IS FURTHER ORDERED that Defendant’s motion for summary

judgment (Docket #24) be and the same is hereby DENIED as moot; and

         IT IS FURTHER ORDERED that:

1.       Jurisdiction

         1.1   This Court has jurisdiction over the subject matter of the

Action and over all parties to the Action, including all Settlement Class

Members.1

2.       Class Definition

         2.1   Under Federal Rule of Civil Procedure 23(c), the Court

certifies the following “Settlement Class,” consisting of all persons within

the United States who received a telephone call from Defendant on their

cellular telephone that was initiated by Defendant’s Noble version 8.02

telephony system between July 1, 2014 and March 19, 2019.

3.       Class Representative and Class Counsel

         3.1   Under Federal Rule of Civil Procedure 23, Francis Woodrow

is hereby appointed as Class Representative.

         3.2   The following are hereby appointed as Class Counsel:

 Matthew R. Wilson
 Michael J. Boyle
 MEYER WILSON CO., LPA
 1320 Dublin Road, Suite 100
 Columbus, Ohio 43215
 Telephone: (614) 224-6000

 Alex Burke
 BURKE LAW OFFICES, LLC
 155 North Michigan Avenue, Suite 9020
 Chicago, Illinois 60601
 Telephone: (312) 729-5288

         1Unlessotherwise defined herein, all terms used in this Order that are
defined terms in the Settlement Agreement have the same meaning as set forth in
the Settlement Agreement.

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 Daniel M. Hutchinson
 LIEFF CABRASER HEIMANN & BERNSTEIN, LLP
 275 Battery Street, 29th Floor
 San Francisco, California 94111-3339
 Telephone: (415) 956-1000

 Edward Broderick
 BRODERICK LAW, P.C.
 125 Summer Street, Suite 1030
 Boston, Massachusetts 02360
 Telephone: (508) 221-1510

 Matthew McCue
 LAW OFFICE OF MATTHEW MCCUE
 1 South Avenue, Suite 3
 Natick, Massachusetts 01760
 Telephone: (508) 655-1415

 Stefan Coleman
 THE LAW OFFICE OF STEFAN COLEMAN, P.A.
 201 South Biscayne Boulevard, 28th Floor
 Miami, Florida 33131
 Telephone: (877) 333-9427

4.       Rule 23 Requirements

         4.1   Pursuant to Rule 23(a) Court finds that: (a) the Settlement

Class is so numerous that joinder of all members is impracticable; (b) there

are questions of law or fact common to the Settlement Class; (c) the claims

of the Class Representative, identified above, are typical of the claims of the

Settlement Class; and (d) the Class Representative will fairly and

adequately protect the interests of the Settlement Class.

         4.2   Pursuant to Rule 23(b)(3), the Court finds that: (A) the

questions of law or fact common to the members of the Settlement Class

predominate over the questions affecting only individual members, and (B)

certification of the Settlement Class is superior to other available methods

for the fair and efficient adjudication of the controversy.

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5.       Notice and Opt-outs.

         5.1   The Court finds that, in accordance with the Notice Plan and

Rule 23(c)(2)(B), the Settlement Administrator provided the best notice

practicable under the circumstances, including individual notice to all Class

members who could be identified through reasonable effort.

         5.2   The Court finds that Defendant properly and timely notified

the appropriate state and federal officials of the Settlement Agreement

under the Class Action Fairness Act of 2005 (“CAFA”). See 28 U.S.C. § 1715.

         5.3   All persons who made timely and valid requests for exclusion

are excluded from the Settlement Class and are not bound by this Final

Approval Order and Judgment. Only one person has submitted a notice

seeking exclusion from the Settlement Class; the Court herewith accepts

Plaintiff’s submission as to this one person who has made a timely and valid

request for exclusion. (Docket #44-1 ¶ 14; Id. at 24–25).

6.       Final Approval of the Settlement.

         6.1   Pursuant to the Settlement Agreement, the Defendant has

agreed to pay $1,750,000.00 to create the Settlement Fund. Amounts

awarded to Class Counsel or the Class Representative will be paid from the

Settlement Fund. Class Members who have submitted a valid claim will

receive a pro-rata share of the Settlement Fund after attorneys’ fees and

costs, the Class Representative’s award, and the costs of notice and

administration are deducted.

         6.2   The Court has read and considered the papers filed in support

of the Motion, including the Settlement Agreement and the exhibits thereto,

memoranda, and arguments submitted on behalf of the Plaintiff, Settlement

Class Members, and the Defendant. The Court has not received any

objections from any person regarding the Settlement. The Court held a


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hearing on September 19, 2019, at which time the parties were afforded the

opportunity to be heard in support of or in opposition to the Settlement.

Furthermore, the Court finds that notice under the Class Action Fairness

Act was effectuated on May 28, 2019, and that ninety (90) days passed

without comment or objection from any governmental entity.

       6.3    The Court now grants final approval to the Settlement and

finds that the Settlement is fair, adequate, reasonable, and in the best

interests of the Settlement Class. This finding is supported by, among other

things, the complex legal and factual posture of the Action, the fact that the

Settlement is the result of arms’ length negotiations presided over by a

neutral mediator, and the settlement benefits being made available to

Settlement Class Members.

       6.4    The Settlement Administrator shall take all reasonable steps

necessary to ensure that the settlement is effectuated in a manner consistent

with the Settlement Agreement.

       6.5    In the event that settlement payments exceed the threshold

amounts that must be reported to the Internal Revenue Service by means of

a Form 1099, Class Counsel, and the Settlement Administrator, will take all

necessary and reasonable steps to obtain W-9‘s from claimants and to

comply with applicable IRS regulations on issuing 1099’s without a social

security number or tax entity identification number, and shall take all

reasonable and necessary steps to avoid imposition of IRS penalties against

the Settlement Fund, including, but not limited to limiting payments below

the reportable threshold and/or withholding of taxes and any applicable

penalties.

       6.6    The Court orders the Parties to the Settlement Agreement to

perform their obligations thereunder. The Settlement Agreement shall be


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deemed incorporated herein as if explicitly set forth and shall have the full

force of an order of this Court.

       6.7    The Court dismisses this Action with prejudice and without

costs (except as otherwise provided herein and in the Settlement

Agreement).

       6.8    On and after the Effective Date, the Releasing Parties, and

each of them, are forever barred and permanently enjoined from directly,

indirectly, representatively, or in any other capacity filing, commencing,

prosecuting, continuing, or litigating any other proceeding against any of

the Released Parties in any jurisdiction based on or relating in any way to

the Released Claims, and the Releasing Parties are forever barred and

permanently enjoined from filing, commencing, or prosecuting any lawsuit

individually or as a class action against any of the Released Parties

(including by seeking to amend a pending complaint to include class

allegations or by seeking class certification in a pending action in any

jurisdiction) based on or relating in any way to the Released Claims.

       6.9    The Court further orders that upon the Effective Date, the

above-described releases and the Settlement Agreement will be binding on,

and have res judicata and preclusive effect in all pending and future lawsuits

or other proceedings maintained by or on behalf of the Releasing Parties.

       6.10   Without affecting the finality of this Final Approval Order

and Judgment in any way, the Court retains jurisdiction over: (a)

implementation and enforcement of the Settlement Agreement until the

final judgment contemplated hereby has become effective and each and

every act agreed to be performed by the parties hereto pursuant to the

Settlement Agreement has been performed; (b) any other action necessary

to conclude the Settlement and to administer, effectuate, interpret and


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monitor compliance with the provisions of the Settlement Agreement; and

(c) all parties to this Action and Settlement Class Members for the purpose

of implementing and enforcing the Settlement Agreement.

       6.11   Neither this Final Approval Order and Judgment as to the

Defendant, nor the Settlement Agreement shall be construed or used as an

admission or concession by or against the Defendant or any of the Released

Parties of any fault, omission, liability, or wrongdoing, or the validity of

any of the Released Claims in any action or proceedings whatsoever. This

Final Approval Order and Judgment is not a finding of the validity or

invalidity of any claims in this Action or a determination of any

wrongdoing by the Defendant or any of the Released Parties. The final

approval of the Settlement Agreement does not constitute any opinion,

position, or determination of this Court, one way or the other, as to the

merits of the claims and defenses of Plaintiff, the Settlement Class Members,

or the Defendant.

       The Clerk of the Court is directed to enter judgment accordingly.

       Dated at Milwaukee, Wisconsin, this 19th day of November, 2019.

                                   BY THE COURT:




                                   J.P. Stadtmueller
                                   U.S. District Judge




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